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		OSCN Found Document:IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2018 OK 47Case Number: SCBD-6510Decided: 06/11/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 47, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.&nbsp;



&nbsp;



IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2017 DUES




ORDER STRIKING NAMES


The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls for failure to pay dues as members of the Oklahoma Bar Association for the year 2017.

Pursuant to the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011 ch. 1, app 1, art. VIII §2, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Oklahoma Bar Association and prohibited from practicing law in the State of Oklahoma by this Court's Order of May 30, 2017, for failure to pay their 2017 dues in accordance with Article VIII, Section 2 of the Rules. Based upon the application, this Court finds that the Board of Governors determined at its May 18, 2018, meeting that none of the Oklahoma Bar Association members named on Exhibit A, attached hereto, have applied for reinstatement at the time of the filing of its application. The Board of Governors further declared that the members set out on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and that their names should therefore be stricken from its membership rolls and the Roll of Attorneys on May 30, 2018, pursuant to Article VIII, Section 5 of the Rules. This Court further finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

It is therefore ordered that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys for failure to pay their dues as members of the Association for the year 2017.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 11TH DAY OF JUNE, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.




&nbsp;

EXHIBIT A
(Dues - Strike)

Kenneth Robert Baily, OBA #12056
32496 Bergamo Crt.
Temecula, CA 92592

Colin Richard Barrett, OBA #31936
201 Robert S. Kerr, Ste. 700
Oklahoma City, OK 73102

Jack Douglas Been, OBA #31900
1405 N. Old North Place
Sand Springs, OK 74063-8987

Steven Alex Bellanti, OBA #31342
3166 E. Phillips Dr.
Centennial, CO 80122

Kristen Mark Boyd, OBA #19640
11300 N. Rodney Parham, Ste. 320
Little Rock, AR 72212

Stacy Loraine Burgan, OBA #14065
6204 N.W. 84th Pl.
Oklahoma City, OK 73132

Stephanie M. Burke, OBA #17585
1720 Westmister Pl.
Oklahoma City, OK 73112

John Raymond Cathey, OBA #10236
229 Alder Lane
Boulder, CO 80304

M. Frederick Conlin Jr., OBA #12247
1515 Frost Dr.
College Station, TX 77845

Jacqueline Cronkhite Dodd, OBA #30851
17 N. 6th St.
P.O. Box 1526
Fort Smith, AR 72902-1526

Jamie Dawn Dunkel, OBA #22407
4209 Horseshoe Bend
Matthews, NC 28104

Kristin Foster, OBA #30078
1080 Bergen Street, #188
Brooklyn, NY 11216

Nicole Suzette Weeks Fowler, OBA #18557
2718 N. Emerald
Fayetteville, AR 72703

Sara Ruth Garrett, OBA #31907
129 E. 46th St., Apt. 5
Kansas City, MO 64112

Ryan Patrick Goodwin, OBA #32403
1814 E. 72nd St., Apt. 1615
Tulsa, OK 74136

Todd Maxwell Henshaw, OBA #4114
1 Peachtree Drive
Springs #101
Savannah, GA 31419

Martha Lynne Hyde, OBA #31102
7854 South 69 East Ave.
Tulsa, OK 74133

Kenneth James Irwin, OBA #11877
15103 Rolling Oaks Dr.
Houston, TX 77070-1264

Val Ryan Jolley, OBA #17218
P.O. Box 2364
Farmington, NM 87499

Henry W. Kappel, OBA #4874
P.O. Box 6271
Pago Pago, AS 96799

Kendra Celeste Kuehn, OBA #32248
1007 S.E. 9th Street
Wagoner, OK 74467-7203

Ryan Andrew Kuzmic, OBA #32249
1722 S. Carson Ave., Apt. 2207
Tulsa, OK 74119

Michael McLennon, OBA #13382
3740 Deer Crossing
Edmond, OK 73025

Glenn Martin Mirando, OBA #14282
2125 E. 31st St.
Tulsa, OK 74105

Rhoda Jane Mull, OBA #17790
23 Sharpley Dr.
Chadds Ford, PA 19317

Donna Lane Nolan, OBA #5215
524 Jean Marie
Norman, OK 73069

Bridget Elizabeth Rains, OBA #31691
101 Darwin Rd.
Edmond, OK 73034

Nicholas J. Stockdale, OBA #31429
2433 N.W. 54th St.
Oklahoma City, OK 73112

Duncan Harold Strickland, OBA #32933
20333 State Hwy. 249, #200
Houston, TX 77070

Rebecca K. Tallent, OBA #8834
3816 N. Tacoma
Oklahoma City, OK 73112-6344





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